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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                               CRIMINAL MINUTES - GENERAL




 Case No.          CR 15-00701-ODW-1                                                             Date    April 21, 2020


 Present: The Honorable          OTIS D. WRIGHT II, UNITED STATES DISTRICT JUDGE

 Interpreter

                Sheila English                   Miranda Algorri- telep.                            Kim Meyer- telep.
                Deputy Clerk                     Court Reporter/Recorder                          Assistant U.S. Attorney



                U.S.A. v. Defendant(s):           Present Cust. Bond            Attorneys for Defendants:        Present App. Ret.

 1) Jim Sheng Lee                                   Not     X              1) Patrick S Aguirre                   telep.               X



 Proceedings:        TELEPHONIC MOTION for Release from Custody [318]

       Case called, appearances made. The defendant waived his appearance for this hearing.
The Court having carefully considered the papers and having heard oral argument of counsel as
stated on the record.

         The motion for release is denied. Defendant will remain in custody.

IT IS SO ORDERED.




                                                                                                                  :         16

                                                                      Initials of Deputy Clerk              se




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